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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

ZEPHYR FLUID SOLUTIONS, LLC,

       Plaintiff,                                  C.A. No. 22-cv-00475-SRF

               v.

SCHOLLE IPN PACKAGING, INC.,

      Defendant.

                             JOINT STATUS REPORT

       Pursuant to this Court’s Oral Order of August 8, 2023, Plaintiff Zephyr Fluid

Solutions, LLC (“Zephyr”) and Defendant Scholle IPN Packaging, Inc. (“Scholle”)

submit this joint status report regarding the progress of the parties’ pending

arbitration.

       1.      Zephyr initiated this action on April 13, 2022, asserting claims for

breach of contract and breach of the implied covenant of good faith and fair dealing.

(D.I. 1.)

       2.      On June 1, 2022, Scholle moved to dismiss the complaint or, in the

alternative, to transfer the action to the Northern District of Illinois. (D.I. 10.)

       3.      On August 8, 2022, while Scholle’s motion was pending, Zephyr

moved to compel arbitration and stay these proceedings. (D.I. 20.)
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      4.     By its Order of February 7, 2023, this Court denied Scholle’s motion to

dismiss, granted Zephyr’s motion to compel arbitration, and stayed these

proceedings. (D.I. 36.)

      5.     The Court further ordered the parties to submit a status report regarding

the progress of the arbitration within six months of its Order.

      6.     In compliance with the Court’s directive, the parties submitted an initial

joint status report on August 4, 2023 reporting on the progress of the arbitration

proceedings. (D.I. 37.)

      7.     Since filing the initial joint status report, Zephyr and Scholle have

completed fact discovery. Zephyr and Scholle are currently engaged in expert

discovery.

      8.     An arbitration hearing is presently set to begin on May 6, 2024 before

William D. Johnston, Esq.

      9.     The parties respectfully request that the Court continue to stay this

action.

      10.    For the Court’s benefit, the parties propose submitting another status

report on or before August 5, 2024.




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Dated: February 5, 2024
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